22-10412-mg            Doc 467    Filed 09/10/24 Entered 09/10/24 13:17:38            Main Document
                                              Pg 1 of 40



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
                                                                   Chapter 11
In re:

26 BOWERY LLC and                                                  Case No.: 22-10412 (MG) and
2 BOWERY HOLDING LLC,                                                         22-10413 (MG)
                                                                   (Jointly Administered)
                                    Debtors.
---------------------------------------------------------X




      JOINT PLAN OF REORGANIZATION PROPOSED BY 26 BOWERY LLC,
       2 BOWERY HOLDING LLC, AND DOUBLE BOWERY FUNDING LLC




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New York, New York
September 10, 2024




                                                        1

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 2 of 40



       26 Bowery LLC, 2 Bowery Holding LLC, and Double Bowery Funding, LLC
propose the following chapter 11 plan of reorganization pursuant to section 1121(a)
of the Bankruptcy Code. Capitalized terms used herein shall have the meanings set
forth in Section 1.A.

SECTION 1.                DEFINITIONS AND INTERPRETATION.

         A.       Definitions.

         1.1      2 Bowery means 2 Bowery Holding LLC, a Debtor in these Chapter 11
Cases.

         1.2      2 Bowery Closing means the closing of the 2 Bowery Sale Transaction.

         1.3      2 Bowery Closing Date means the date of the 2 Bowery Closing.

       1.4    2 Bowery Property means the real property and improvements thereon
located at 2 Bowery, New York, New York (Block 162; Lot 61).

       1.5    2 Bowery Purchase Agreement means a purchase agreement, in form
and substance reasonably acceptable to 2 Bowery, a form of which is included in the
Plan Supplement by and between 2 Bowery, as seller, and the 2 Bowery Purchaser,
as buyer, which provides for the sale of the 2 Bowery Property, submitted at or prior
to the Auction and determined by 2 Bowery pursuant to the Bid Procedures to
reflect the highest or otherwise best offer for the 2 Bowery Property.

       1.6   2 Bowery Purchaser means the successful bidder at the Auction sale
for the 2 Bowery Property

      1.7    2 Bowery Sale Proceeds means the proceeds from the 2 Bowery Sale
Transaction (including the Carve -Out, if necessary) net of closing costs including
but not limited to 2 Bowery’s brokerage fees, title costs and other ordinary and
necessary costs of, or credits related to, the transfer of title of the 2 Bowery
Property.

      1.8    2 Bowery Sale Transaction means the sale of the 2 Bowery Property
pursuant to the Plan.

         1.9      2 Bowery Stalking Horse means 1 Ludlow Three Points LLC.

      1.10 2 Bowery Stalking Horse Contract means the Contract of Sale between
2 Bowery and 1 Ludlow Three Points LLC. A copy of the 2 Bowery Stalking Horse
Contract is attached to the Bid Procedures.

         1.11     26 Bowery means 26 Bowery LLC, a Debtor in these Chapter 11 Cases.

                                                2

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 3 of 40



         1.12     26 Bowery Closing means the closing of the 26 Bowery Sale
Transaction.

         1.13     26 Bowery Closing Date means the date of the 26 Bowery Closing.

      1.14 26 Bowery Property means the real property and improvements
thereon located at 26 Bowery, New York, New York (Block 163; Lot 35).

      1.15 26 Bowery Purchase Agreement means a purchase agreement, in form
and substance reasonably acceptable to 26 Bowery, a form of which is included in
the Plan Supplement by and between 26 Bowery, as seller, and the 26 Bowery
Purchaser, as buyer, which provides for the sale of the 26 Bowery Property,
submitted at or prior to the Auction and determined by 26 Bowery pursuant to the
Bid Procedures to reflect the highest or otherwise best offer for the 26 Bowery
Property.

       1.16 26 Bowery Purchaser means the successful bidder at the Auction sale
for the 26 Bowery Property.

      1.17 26 Bowery Sale Proceeds means the proceeds from the 26 Bowery Sale
Transaction (including the Carve -Out, if necessary) net of closing costs including
but not limited to 26 Bowery’s brokerage fees, title costs and other ordinary and
necessary costs of, or credits related to, the transfer of title of the 26 Bowery
Property.

      1.18 26 Bowery Sale Transaction means the sale of the 26 Bowery Property
pursuant to the Plan.

       1.19 26 Bowery Stalking Horse means Double Bowery which will be
submitting a credit bid of $3,750,000 pursuant to the Double Bowery Note and
Double Mortgage and DIP Claim. Double Bowery reserves the right to bid up the
full amount of its Secured Claim.

       1.20 Administrative Expense Claim means any Claim for costs and
expenses of administration during the Chapter 11 Cases pursuant to sections 503(b)
or 507(a)(2) of the Bankruptcy Code, including, (a) the actual and necessary costs
and expenses incurred after the Commencement Date through the Effective Date of
preserving the Estates and operating the business of the Debtors (such as wages,
salaries or commissions for services and payments for goods and other services and
leased premises); (b) Fee Claims; and (c) all fees and charges assessed against the
Estates pursuant to section 1911 through 1930 of chapter 123 of title 28 of the
United States Code.




                                                3

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 4 of 40



       1.21 Administrative Expense Claims Bar Date means the first Business
Day that is 30 days following the Effective Date, except as otherwise specifically set
forth in the Plan.

       1.22 Administrative Expense Claims Objection Bar Date means the first
Business Day that is 60 days following the Effective Date, except as otherwise
specifically set forth in the Plan; provided that the Administrative Expense Claims
Objection Bar Date may be extended pursuant to an order of the Bankruptcy Court
upon a motion filed by the Post-Effective Date Debtors after notice and a hearing.

       1.23 Allowed means with reference to any Claim (a) any Claim against any
Debtor that has been listed by the Debtor in its Schedules, as such Schedules may
be amended by the Debtor from time to time in accordance with Bankruptcy Rule
1009, as liquidated in amount and not disputed or contingent and for which no
contrary proof of Claim has been filed, (b) any Claim listed on the Schedules or
included in a timely filed proof of Claim, as to which no objection to allowance has
been, or subsequently is, interposed in accordance with section 7.9 hereof or prior to
the expiration of such other applicable period of limitation fixed by the Bankruptcy
Code, the Bankruptcy Rules, or the Bankruptcy Court, or as to which any objection
has been determined by a Final Order to the extent such Final Order is in favor of
the respective holder, or (c) any Claim expressly allowed by a Final Order.

     1.24 Auction means the auction for the sale of the 26 Bowery Property and
2 Bowery Property to be held in accordance with the Bid Procedures.

      1.25 Available Cash means all Cash of the Debtors realized from its
business operations, proceeds from the DIP Loan Agreement, the sale or other
disposition (other than the 26 Bowery Sale Transaction and 2 Bowery Sale
Transaction) of its assets, the interest earned on its invested funds, recoveries from
Causes of Action or from any other source or otherwise.

      1.26 Avoidance Action means any action commenced, or that may be
commenced, before or after the Effective Date pursuant to section 544, 545, 547,
548, 549, 550, or 551 of the Bankruptcy Code.

       1.27 Bankruptcy Code means title 11 of the United States Code, 11 U.S.C.
§§ 101, et seq., as amended from time to time, as applicable to these Chapter 11
Cases.

      1.28 Bankruptcy Court means the United States Bankruptcy Court for the
Southern District of New York having jurisdiction over the Chapter 11 Case and, to
the extent of any reference made under section 157 of title 28 of the United States
Code, the unit of such District Court having jurisdiction over the Chapter 11 Case
under section 151 of title 28 of the United States Code.

                                                4

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 5 of 40




       1.29 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure
as promulgated by the United States Supreme Court under section 2075 of title 28
of the United States Code, as amended from time to time, applicable to the Chapter
11 Case, and any Local Rules of the Bankruptcy Court.

       1.30 Bar Date Order means that certain Order Establishing Deadline for
Filing Proofs of Claim Against the Debtors and Approving the Form and Manner of
Notice Thereof entered on July 29, 2022 at ECF 80 which established September 7,
2022 as the last day for creditors to file claims against the Debtors’ Estates and
established September 27, 2022 as the last date for Governmental Units to file
claims against the Debtor’s estate.

      1.31 Bid Procedures means the bid and auction procedures as approved by
the Bankruptcy Court establishing, among other things, procedures for the Auction
and the terms and conditions related to the 26 Bowery Sale Transaction and 2
Bowery Sale Transaction.

      1.32 Business Day means any day other than a Saturday, a Sunday or any
other day on which banking institutions in New York, New York are required or
authorized to close by law or executive order.

      1.33 Carve-Out means the Debtor’s Available Cash, and to the extent the
Available Cash is insufficient, Cash made available by Double Bowery either
through carving out of its recovery sufficient Cash to fund the Plan if the proceeds
from the sales of the Properties are otherwise insufficient or by contributing its own
Cash to fund the Carve-Out. In such event, Double Bowery shall pay, to the extent
unpaid, (i) Allowed Administrative Expense Claims, (ii) Allowed Fee Claims, (iii)
Allowed Priority Claims, (iv) United States Trustee Fees, and (v) contribute
$33,000.00 per Debtor from the 26 Bowery Sale Proceeds and 2 Bowery Sale
Proceeds, as may be necessary, to fund the distribution to Allowed Class 3 and
Class 4 General Unsecured Claims. The funds to satisfy the Carve-Out shall be
funded or paid at the 26 Bowery Closing and 2 Bowery Closing, as necessary.

         1.34     Cash means legal tender of the United States of America.

       1.35 Causes of Action means any action, Claim, cause of action, controversy,
demand, right, lien, indemnity, guaranty, suit, obligation, liability, damage,
judgment, account, defense, offset, power, privilege, license and franchise of any
kind or character whatsoever, known, unknown, contingent or non-contingent,
matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, secured or unsecured, assertable directly or derivatively,
whether arising before, on, or after the Commencement Date, in contract or in tort,
in law or in equity or pursuant to any other theory of law. Causes of Action also

                                                5

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 6 of 40



includes: (a) any right of setoff, counterclaim or recoupment and any claim for
breach of contract or for breach of duties imposed by law or in equity; (b) the right to
object to Claims or Interests; (c) any Avoidance Action; (d) any claim or defense
including fraud, mistake, duress and usury and any other defenses set forth in
section 558 of the Bankruptcy Code; and (e) any state law fraudulent transfer claim.

       1.36 Chapter 11 Cases means the jointly-administered cases under chapter
11 of the Bankruptcy Code commenced by the Debtors on March 31, 2022 and styled
In re 26 Bowery LLC and 2 Bowery Holding LLC, Case No. 22-10412 (MG) (Jointly
Administered).

         1.37     Claim has the meaning set forth in section 101(5) of the Bankruptcy
Code.

       1.38 Claims Objection Bar Date means the first Business Day that is 60
after the Effective Date; provided that the Claims Objection Bar Date may be
extended pursuant to an order of the Bankruptcy Court upon a motion filed by the
Post-Effective Date Debtors.

      1.39 Class means any group of Claims or Interests classified pursuant to
Section 3.1 of the Plan.

         1.40     Commencement Date means March 31, 2022.

      1.41 Confirmation means the entry on the docket of the Chapter 11 Cases of
the Confirmation Order.

     1.42 Confirmation Date means the date on which the Clerk of the
Bankruptcy Court enters the Confirmation Order.

      1.43 Confirmation Hearing means the hearing to be held by the Bankruptcy
Court regarding Confirmation of the Plan, as such hearing may be adjourned or
continued from time to time.

         1.44 Confirmation Order means an order of the Bankruptcy Court
confirming the Plan.

         1.45     Consummation means the occurrence of the Effective Date of the Plan.

      1.46 Cure Obligation means all (a) amounts (or such other amount as may
be agreed upon by the parties under an Executory Contract or unexpired Lease)
required to cure any monetary defaults; and (b) other obligations required to cure
any non-monetary defaults under any Executory Contract or unexpired Lease that

                                                6

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 7 of 40



is to be assumed by the Debtors and assigned to either the 26 Bowery Purchaser or
2 Bowery Purchaser, as applicable, pursuant to sections 365 or 1123 of the
Bankruptcy Code.

       1.47 Debtor means either 26 Bowery or 2 Bowery in its respective
individual capacity as a debtor and debtor in possession in the Chapter 11 Cases.

         1.48     Debtors mean 26 Bowery and 2 Bowery.

      1.49 DIP Claim means any Claim of Double Bowery arising under the DIP
Loan Agreement or the Final DIP Order.

       1.50 DIP Loan Agreement means that certain Senior Secured Super-
Priority Debtor-In-Possession Loan Agreement, as amended, supplemented, or
otherwise modified (together with any exhibits attached thereto and other
agreements related thereto, including, without limitation, all security agreements
and all related or ancillary documents and agreements), by and among, 26 Bowery
and 2 Bowery, as borrowers, and Double Bowery, as Lender.

      1.51 Disbursing Agent means RK Consultants LLC, the Debtors’
independent manager, the entity designated by the Plan and charged with the
responsibility of making the payments under the Plan.

      1.52 Disclosure Statement means the Disclosure Statement for the Plan
which is prepared and distributed in accordance with sections 1125, 1126(b) and/or
1145 of the Bankruptcy Code, Bankruptcy Rule 3018 and/or other applicable law, as
the same may be amended or modified from time to time.

      1.53 Disputed Claim means with respect to a Claim or Interest, any such
Claim or Interest (a) to the extent neither Allowed nor disallowed under the Plan or
a Final Order nor deemed Allowed under section 502, 503 or 1111 of the
Bankruptcy Code, or (b) for which a Proof of Claim or Interest has been filed, to the
extent the Debtor or any party in interest has interposed a timely objection or
request for estimation before the Confirmation Date in accordance with the Plan,
which objection or request for estimation has not been withdrawn or determined by
a Final Order.

      1.54 Distribution Date means a date or dates, as determined by the
Disbursing Agent in accordance with the terms of the Plan, on which the Disbursing
Agent makes a distribution to holders of Allowed Claims.

         1.55     Distribution Record Date means the Effective Date of the Plan.


                                                7

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 8 of 40



        1.56 Double Bowery means Double Bowery Funding LLC in its capacity as
in its capacity as the pre-petition lender to the Debtors and as lender under the DIP
Loan Documents.

      1.57 Double Bowery Mortgage means the mortgage and security interest in
the Properties in the principal amount of the Double Bowery Note, which was duly
recorded with the Office of the City Register for the City of New York against the 26
Bowery Property and 2 Bowery Property on June 5, 2019, under CRFN
2019000174251.

       1.58 Double Bowery Note means the prepetition loan in the original
principal amount of $8,200,000, evidenced by the Consolidated and Restated
Mortgage Note dated as of April 26, 2019.

      1.59 Double Bowery Secured Claim means the Secured Claim against the
Properties, as held by Double Bowery as the holder of the Double Bowery Note and
Double Bowery Mortgage.

       1.60 Effective Date means the date on which all conditions to the
effectiveness of the Plan set forth in Section 10 hereof have been satisfied or waived
in accordance with the terms of the Plan.

         1.61     Entity has the meaning set forth in section 101(15) of the Bankruptcy
Code.

     1.62 Estate means as to each Debtor, the estate created for the Debtor in its
Chapter 11 Case pursuant to section 541 of the Bankruptcy Code upon the
commencement of each respective Debtor’s Chapter 11 Case.

         1.63 Estimated Fee Claim Escrow means the escrow account established by
the Debtors no later than ten (10) days prior to the Effective Date, holding sufficient
Cash to pay the Fee Claims in full, subject to their allowance by the Bankruptcy
Court. The Estimated Fee Claim Escrow shall be funded from the 26 Bowery Sale
Proceeds and 2 Bowery Sale Proceeds.

       1.64 Exculpated Parties means collectively: (a) the Debtors; (b) RKC, LLC
d/b/a RK Consultants LLC, the Debtors’ Independent Manager, (c) Double Bowery,
(d) the 26 Bowery Purchaser; (e) the 2 Bowery Purchaser; and (f) with respect to
each of the foregoing entities in clauses (a) through (e), such Entities’ successors
and assigns, subsidiaries, affiliates, current and former officers, directors,
principals, shareholders, members, partners, employees, agents, advisory board
members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, management companies, and other professionals, and

                                                8

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 9 of 40



such persons’ respective heirs, executors, Estates, servants and nominees, in each
case in their capacity as such.

       1.65 Executory Contract means a contract to which a Debtor is a party that
is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy
Code.

      1.66 Fee Claim means a Claim for professional services rendered or costs
incurred on or after the Commencement Date through the Effective Date by
professional persons retained by the Debtors pursuant to sections 327, 328, 329,
330, 331, 503(b) or 1103 of the Bankruptcy Code in the Chapter 11 Case.

       1.67 Final DIP Order means that certain Final Order: (I) Authorizing
Debtors to (A) Obtain Postpetition Financing and Utilize Cash Collateral Pursuant
to 11 U.S.C. §§ 105, 362, 363, 364(c)(1), 364(d), and 364(e) and Fed. R. Bankr. P.
2002, 4001(c), 4001(d) and 9014, (B) Granting Adequate Protection to Prepetition
Secured Lender, (C) Modifying the Automatic Stay, and (D) Granting Related
Relief, entered by the Bankruptcy Court in the Chapter 11 Cases on July 20, 2022
at ECF No. 69 as the same may have been modified or amended.

       1.68 Final Order means an order or judgment of a court of competent
jurisdiction that has been entered on the docket maintained by the clerk of such
court, which has not been reversed, vacated or stayed and as to which (a) the time
to appeal, petition for certiorari, or move for a new trial, reargument or rehearing
has expired and as to which no appeal, petition for certiorari, or other proceedings
for a new trial, reargument or rehearing shall then be pending, or (b) if an appeal,
writ of certiorari, new trial, reargument or rehearing thereof has been sought, such
order or judgment shall have been affirmed by the highest court to which such order
was appealed, or certiorari shall have been denied, or a new trial, reargument or
rehearing shall have been denied or resulted in no modification of such order, and
the time to take any further appeal, petition for certiorari or move for a new trial,
reargument or rehearing shall have expired; provided, however, that no order or
judgment shall fail to be a “Final Order” solely because of the possibility that a
motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or under Rule 60
of the Federal Rules of Civil Procedure or Bankruptcy Rule 9024 has been or may be
filed with respect to such order or judgment.

       1.69 General Unsecured Claim means any unsecured Claim that is not
entitled to priority under the Bankruptcy Code or any order of the Bankruptcy
Court.

     1.70 Governmental Unit has the meaning set forth in section 101(27) of the
Bankruptcy Code.


                                                9

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 10 of 40



         1.71     Guarantors means Chouk Ng and his estate, Wilson Ng, and Seven Ng.

      1.72 Guaranty means the Guaranty of Payment dated April 26, 2019 made
by Chouk Ng, Wilson Ng, and Steven Ng to Double Bowery.

       1.73 Impaired means, with respect to a Claim, Interest or Class of Claims
or Interests, “impaired” within the meaning of section 1124 of the Bankruptcy Code.

       1.74 Interests means any equity security in a Debtor as defined in section
101(16) of the Bankruptcy Code, including all instruments evidencing an ownership
interest in the Debtor, whether or not transferable, and any option, warrant or
right, contractual or otherwise, to acquire any such interests in the Debtor that
existed immediately before the Effective Date.

       1.75 Lease means any valid lease of real property between the Debtors and
their Tenants, if any.

         1.76     Lien has the meaning set forth in section 101(37) of the Bankruptcy
Code.

       1.77 Person means an individual, corporation, partnership, joint venture,
association, Joint Stock Company, Limited Liability Company, limited liability
partnership, trust, estate, unincorporated organization, Governmental Unit or other
entity.

       1.78 Plan means this chapter 11 plan of reorganization, including the
exhibits hereto and the Plan Supplement, as the same may be amended or modified
from time to time in accordance with Sections herein.

         1.79     Plan Proponents means the Debtors and Double Bowery.

       1.80 Plan Supplement means the compilation of documents and
information, if any, required to be disclosed in accordance with section 1129(a)(5) of
the Bankruptcy Code; provided that, through the Effective Date, the Debtors shall
have the right to amend any schedules, exhibits, and the other documents contained
in, and exhibits to, the Plan Supplement.

       1.81 Plan Supplement Filing Deadline means the date that is no later than
three (3) Business Days before the deadline to vote on confirmation of the Plan.

         1.82     Post-Effective Date Debtors means the Debtors after the Effective
Date.




                                                10

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 11 of 40



      1.83 Priority Tax Claim means any unsecured Claim of a Governmental
Unit of the kind entitled to priority in payment as specified in sections 502(i) and
507(a)(8) of the Bankruptcy Code.

     1.84 Properties means, collectively, the 26 Bowery Property and the 2
Bowery Property.

      1.85 Pro Rata means the proportion that an Allowed Claim in a particular
Class bears to the aggregate amount of Allowed Claims and Disputed Claims within
such Class.

     1.86 Proof of Claim means a proof of Claim filed against a Debtor in its
Chapter 11 Case.

      1.87 Schedule of Cure Costs means the schedule of Executory Contracts and
unexpired Leases, if any, to be assumed by a Debtor and assigned to the
corresponding purchaser, to be filed with the Plan Supplement and/or the fully
executed 26 Bowery Purchase Agreement or 2 Bowery Purchase Agreement, as
applicable.

      1.88 Schedules means the schedules of assets and liabilities and the
statement of financial affairs filed by the Debtors under section 521 of the
Bankruptcy Code, Bankruptcy Rule 1007, and the Official Bankruptcy Forms of the
Bankruptcy Rules, as such schedules and statements have been or may be
supplemented or amended from time to time.

       1.89 Secured Claim means a Claim to the extent (i) secured by property of
the Estate, the amount of which is equal to or less than the value of such property
(A) as set forth in the Plan, (B) as agreed to by the holder of such Claim and the
Debtor or (C) as determined by a Final Order in accordance with section 506(a) of
the Bankruptcy Code, or (ii) secured by the amount of any rights of setoff of the
holder thereof under section 553 of the Bankruptcy Code.

      1.90 Tenants means all non-Debtor parties to Leases with the Debtors for
residential or commercial units at the 26 Bowery Property or 2 Bowery Property.

     1.91 Unimpaired means, with respect to a Claim, Interest or Class of
Claims or Interests, that such Claim or Interest is not “impaired” within the
meaning of section 1123(a)(4) and 1124 of the Bankruptcy Code.

         B.       Interpretation; Application of Definitions and Rules of Construction.

       Unless otherwise specified, all section or exhibit references in the Plan are to
the respective section in, or exhibit to, the Plan, as the same may be amended,

                                                11

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 12 of 40



waived or modified from time to time. The words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to the Plan as a whole and not
to any particular section, subsection or clause contained therein. The headings in
the Plan are for convenience of reference only and shall not limit or otherwise affect
the provisions hereof. For purposes herein: (1) in the appropriate context, each
term, whether stated in the singular or the plural, shall include both the singular
and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) any reference
herein to a contract, lease, instrument, release, indenture, or other agreement or
document being in a particular form or on particular terms and conditions means
that the referenced document shall be substantially in that form or substantially on
those terms and conditions; (3) unless otherwise specified, all references herein to
“Sections” are references to Sections hereof or hereto; (4) the rules of construction
set forth in section 102 of the Bankruptcy Code shall apply; and (5) any term used
in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that
term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

         C.       Controlling Document

        In the event of an inconsistency between the Plan and the Plan Supplement,
except for the terms of the 26 Bowery Purchase Agreement and 2 Bowery Purchase,
as applicable, the terms of the Plan shall control (unless stated otherwise in the
Plan). The provisions of the Plan and of the Confirmation Order shall be construed
in a manner consistent with each other so as to effect the purposes of each; provided
that, if there is determined to be any inconsistency between any Plan provision and
any provision of the Confirmation Order that cannot be so reconciled, then, solely to
the extent of such inconsistency, the provisions of the Confirmation Order shall
govern and any such provision of the Confirmation Order shall be deemed a
modification of the Plan and shall control and take precedence.

SECTION 2.                ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

         2.1.     Administrative Expense Claims.

       Except to the extent that a holder of an Allowed Administrative Expense
Claim and the Debtors agree to different treatment, the Debtors shall pay to each
holder of an Allowed Administrative Expense Claim, Cash in an amount equal to
such Claim (plus statutory interest on such claim, if applicable), on or as soon
thereafter as is reasonably practicable, the later of (a) the 26 Bowery Closing Date
and 2 Bowery Closing Date, as applicable, and (b) the first Business Day after the
date that is ten (10) calendar days after the date such Administrative Expense
Claim becomes an Allowed Administrative Expense Claim; provided that Allowed
Administrative Expense Claims representing liabilities incurred in the ordinary


                                                12

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 13 of 40



course of business by the Debtors shall be paid by the Debtors in the ordinary
course of business, consistent with past practice and in accordance with the terms
and subject to the conditions of any agreements governing, instruments evidencing
or other documents relating to such transactions.

      Except as otherwise provided by a Final Order previously entered by the
Bankruptcy Court (including the Bar Date Order), requests for payment of
Administrative Expense Claims, other than requests for payment of Fee Claims,
must be filed and served on the Debtors no later than the Administrative Expense
Claims Bar Date pursuant to the procedures specified in the Confirmation Order
and the notice of entry of the Confirmation Order.

       Holders of Administrative Expense Claims that are required to file and serve
a request for payment of such Administrative Expense Claims and that do not file
and serve such a request by the Administrative Expense Claims Bar Date shall be
forever barred, estopped, and enjoined from asserting such Administrative Expense
Claims against the Debtors or their property, and the Administrative Expense
Claims shall be deemed compromised, settled, and released as of the Effective Date.
The Debtors must file and serve objections to Administrative Expense Claims on or
before the Administrative Expense Claims Objection Bar Date.

         2.2.     Fee Claims.

        All Entities seeking an award by the Bankruptcy Court of Fee Claims shall
file their respective final applications for allowance of compensation for services
rendered and reimbursement of expenses incurred by the date that is thirty (30)
days after the Effective Date. No later than ten (10) days prior to the Effective Date,
all entities holding claims for Fee Claims shall serve upon the Debtors a notice of
the estimated amount of their unpaid Fee Claim and the Debtors shall segregate,
into an Estimated Fee Claim Escrow, the amounts which are necessary to pay the
amount of such Fee Claim, in full subject to Allowance by the Bankruptcy Court (i)
upon the later of (A) the Effective Date and (B) the date upon which the order
relating to any such Allowed Fee Claim is entered or (ii) upon such other terms as
may be mutually agreed upon between the holder of such an Allowed Fee Claim and
the Debtors. The Debtors are authorized to pay compensation for services rendered
or reimbursement of expenses incurred after the Confirmation Date in the ordinary
course and without the need for Bankruptcy Court approval.

      The Debtors are authorized to pay compensation for services rendered or
reimbursement of expenses incurred after the Effective Date in the ordinary course
and without the need for Bankruptcy Court approval.




                                                13

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 14 of 40



         2.3.     Priority Tax Claims.

       Except to the extent that a holder of an Allowed Priority Tax Claim agrees to
a different treatment, each holder of an Allowed Priority Tax Claim shall receive
Cash in an amount equal to such Allowed Priority Tax Claim on, or as soon
thereafter as is reasonably practicable, the later of the 26 Bowery Closing Date and
2 Bowery Closing Date, as applicable, the first Business Day after the date that is
thirty (30) calendar days after the date such Priority Tax Claim becomes an Allowed
Priority Tax Claim, and the date such Allowed Priority Tax Claim is due and
payable in the ordinary course.

         2.4      DIP Claim

        The DIP Claim shall be Allowed in the full amount due and owing under the
DIP Loan Agreement and the Final DIP Order. Except to the extent that the holder
of the DIP Claim agrees in writing to a different treatment, the holder of the DIP
Claim shall receive Cash in an amount equal to the full amount of such Claim on
the earlier of the Effective Date or the 26 Bowery Closing Date and/or 2 Bowery
Closing Date, provided that all proceeds of 26 Bowery Sale Transaction and 2
Bowery Sale Transaction or other disposition of the DIP Collateral (as defined in
the Final DIP Order) shall be applied to reduce the DIP Claim as and when such
proceeds are received by the Debtors, pursuant and subject to the provisions of the
Final DIP Order and the DIP Loan Agreement. Upon the indefeasible payment in
full in cash of the DIP Claim in accordance with the preceding sentence, all Liens
and security interests granted pursuant to the DIP Loan Agreement shall be
deemed cancelled and shall be of no further force and effect and the Allowed DIP
Claim shall be deemed to be fully satisfied, settled, released, and compromised.
Pursuant to the DIP Loan Agreement, all payments pursuant to Section 2.4 of this
Plan shall be made to Double Bowery in accordance with the DIP Loan Agreement.

       If Double Bowery is the successful bidder for the 26 Bowery Property
pursuant to a credit bid in accordance with the Bid Procedures, Double Bowery
shall receive, depending on the amount of the credit bit, the 26 Bowery Property in
full satisfaction of the DIP Claim with respect to 26 Bowery’s obligations under the
DIP Loan Agreement and Final DIP Order.

       The transfer of the 26 Bowery Property to Double Bowery will not satisfy any
of the Guarantors’ obligations under the Guaranty.




                                                14

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 15 of 40



SECTION 3.                CLASSIFICATION OF CLAIMS AND INTERESTS.

         3.1.     Classification in General.

       A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation, and distribution under this Plan and under sections 1122 and
1123(a)(1) of the Bankruptcy Code; provided that a Claim or Interest is placed in a
particular Class for the purpose of receiving distributions pursuant to this Plan only
to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest in
that Class and such Claim or Interest has not been satisfied, released, or otherwise
settled prior to the Effective Date.

         3.2      Summary of Classification.

       The following table designates the Classes of Claims against and Interests in
the Debtors and specifies which of those Classes are (a) Impaired or Unimpaired by
the Plan, (b) entitled to vote to accept or reject the Plan in accordance with section
1126 of the Bankruptcy Code and (c) deemed to reject the Plan. In accordance with
section 1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and
Priority Tax Claims have not been classified and, thus, are excluded from the
classes of Claims and Interests set forth in this Section 3. All of the potential
Classes for the Debtors are set forth herein. The Debtors may not have holders of
Claims or Interests in a particular Class or Classes, and such Classes shall be
treated as set forth in Section 4.

 Class                 Designation                   Treatment          Entitled to Vote
   1           Double Bowery Secured Claim            Impaired                Yes
   2           2 Bowery Other Secured                Unimpaired                No
               Claims                                                    (presumed to
                                                                            accept)
    3          26 Bowery General Unsecured            Impaired                Yes
               Claims Against 26 Bowery
    4          2 Bowery General Unsecured             Impaired                Yes
               Claims
    5          26 Bowery Interests                    Impaired                Yes
    6          2 Bowery Interests                     Impaired                Yes

         3.3.     Special Provision Governing Unimpaired Claims.

       Except as otherwise provided in the Plan, nothing under the Plan shall affect
the rights of the Debtors in respect of any Unimpaired Claims, including all rights
in respect of legal and equitable defenses to, or setoffs or recoupments against, any
such Unimpaired Claims.


                                                15

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 16 of 40



         3.4.     Elimination of Vacant Classes.

       Any Class of Claims or Interests that, as of the commencement of the
Confirmation Hearing, does not have at least one holder of a Claim or Interest that
is Allowed in an amount greater than zero for voting purposes shall be considered
vacant, deemed eliminated from the Plan for purposes of voting to accept or reject
the Plan, and disregarded for purposes of determining whether the Plan satisfies
section 1129(a)(8) or 1129(b) of the Bankruptcy Code with respect to that Class.

         3.5.     Voting Classes; Presumed Acceptance by Non-Voting Classes

      If a Class contains Claims or Interests eligible to vote and no holders of
Claims or Interests eligible to vote in such Class vote to accept or reject the Plan,
the Debtors shall request the Bankruptcy Court at the Confirmation Hearing to
deem the Plan accepted by the holders of such Claims or Interests in such Class.

         3.6.     Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the
                  Bankruptcy Code

       The Debtors shall seek Confirmation of the Plan pursuant to section 1129(b)
of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests.
The Debtors reserve the right to modify the Plan, in accordance with Article 13
hereof to the extent, if any, that Confirmation pursuant to section 1129(b) of the
Bankruptcy Code requires modification, including by modifying the treatment
applicable to a Class of Claims or Interests to render such Class of Claims or
Interests Unimpaired to the extent permitted by the Bankruptcy Code and the
Bankruptcy Rules.

SECTION 4.                TREATMENT OF CLAIMS AND INTERESTS.

         4.1.     Double Bowery Secured Claim (Class 1).

             (a)     Classification: Class 1 consists of the Double Bowery Secured
Claim. The Double Bowery Secured Claim is a Secured Claim pursuant to the
Double Bowery Note, which is secured by the Double Bowery Mortgage and
constitutes a first priority security interest on both the 26 Bowery Property and 2
Bowery Property, subject only to the DIP Claim.

              (b)    Treatment: The holder of the Double Bowery Secured Claim
shall receive, subject to funding the Carve-Out to the extent required by the Plan or
Confirmation Order, (i) Cash from the 26 Bowery Sale Proceeds or if Double Bowery
is the successful bidder for the 26 Bowery Property pursuant to a credit bid in
accordance with the Bid Procedures, Double Bowery shall receive the 26 Bowery
Property and (ii) Cash from the 2 Bowery Sale Proceeds up to the amount of the


                                                16

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38     Main Document
                                             Pg 17 of 40



Allowed Double Bowery Secured Claim and the DIP Claim or (2). If Double Bowery
is the successful bidder for the 26 Bowery Property pursuant to a credit bid in
accordance with the Bid Procedures, the transfer of the 26 Bowery Property to
Double Bowery will be in full satisfaction of the Double Bowery Secured Claim with
respect to 26 Bowery’s obligations under the Double Bowery Mortgage and Double
Bowery Note.

              The transfer of the 26 Bowery Property to Double Bowery will not
satisfy any of the Guarantors’ obligations under the Guaranty.

              (c)         Voting: Class 1 is Impaired and is entitled to vote to accept or
reject the Plan.

         4.2      2 Bowery Other Secured Claims (Class 2).

                  (a)     Classification: Class 2 consists of 2 Bowery Other Secured
Claims.

            (b)   Treatment: Except to the extent that a holder of 2 Bowery Other
Secured Claim agrees to less favorable treatment of such Claim, each holder of an
Allowed 2 Bowery Other Secured Claim shall receive on the Effective Date, the
remaining 2 Bowery Sale Proceeds, if any, after payment in full of all Allowed
Administrative Claims (including Fee Claims), the DIP Claim, Allowed Priority
Claims, and Allowed Claims in Class 1.

              (c)         Voting: Class 2 is Impaired and is entitled to vote to accept or
reject the Plan.

         4.3.     26 Bowery General Unsecured Claims (Class 3).

                  (a)     Classification: Class 3 consists of 26 Bowery General Unsecured
Claims.

              (b)   Treatment: After payment is made in full to holders of Allowed
Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Fee Claims,
and Allowed Claims in class 1, on the 26 Bowery Closing Date, or as soon thereafter
as is reasonably practicable, except to the extent that a holder of an Allowed
General Unsecured Claim agrees to less favorable treatment of such Allowed
General Unsecured Claim or has been paid before the Effective Date, each holder of
an Allowed General Unsecured Claim in Class 3 shall receive, net of any setoffs
allowed under section 7.6 of the Plan, in full and final satisfaction of such Claim,
their pro rata share of the remaining Cash (or the Carve-Out) from the 26 Bowery
Sale Proceeds, up to the full amount of their Allowed Claim.



                                                17

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38     Main Document
                                             Pg 18 of 40



              (c)         Voting: Class 3 is Impaired and is entitled to vote to accept or
reject the Plan.

         4.4.     2 Bowery General Unsecured Claims (Class 4).

                  (a)     Classification: Class 4 consists of 2 Bowery General Unsecured
Claims.

              (b)   Treatment: After payment is made in full to holders of Allowed
Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Fee Claims,
and Allowed Claims in classes 1 and 2 on the 2 Bowery Closing Date, or as soon
thereafter as is reasonably practicable, except to the extent that a holder of an
Allowed General Unsecured Claim agrees to less favorable treatment of such
Allowed General Unsecured Claim or has been paid before the Effective Date, each
holder of an Allowed General Unsecured Claim in Class 4 shall receive, net of any
setoffs allowed under section 7.6 of the Plan, in full and final satisfaction of such
Claim, their pro rata share of the remaining Cash (or the Carve-Out) from the 2
Bowery Sale Proceeds, up to the full amount of their Allowed Claim.

              (c)         Voting: Class 4 is Impaired and is entitled to vote to accept or
reject the Plan.

         4.5.     26 Bowery Interests (Class 5).

                  (a)     Classification: Class 5 consists of Interests in 26 Bowery.

             (b)    Treatment: On the Effective Date, or as soon thereafter as is
reasonably practicable, Interests in 26 Bowery will be cancelled and will not receive
any recovery on account of their Interests in 26 Bowery, provided however, if
payment is made in full to holders of Allowed Administrative Expense Claims,
Allowed Priority Tax Claims, Allowed Fee Claims and Allowed Claims in classes 1
and 3, Holders of Interests in 26 Bowery shall receive any remaining 26 Bowery
Sale Proceeds, net of any setoffs allowed under section 7.6 of the Plan, but in no
event will Class 5 receive any portion of the Carve-Out.

              (c)         Voting: Class 5 is Impaired and is entitled to vote to accept or
reject the Plan.

         4.6.     2 Bowery Interests (Class 6).

                  (a)     Classification: Class 6 consists of Interests in 2 Bowery.

            (b)    Treatment: On the Effective Date, or as soon thereafter as is
reasonably practicable, Interests in 2 Bowery will be cancelled and will not receive


                                                18

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38     Main Document
                                             Pg 19 of 40



any recovery on account of their Interests in 2 Bowery, provided however, if
payment is made in full to holders of Allowed Administrative Expense Claims,
Allowed Priority Tax Claims, Allowed Fee Claims and Allowed Claims in classes 1,
2, and 4, Holders of Interests in 2 Bowery shall receive any remaining 2 Bowery
Sale Proceeds, net of any setoffs allowed under section 7.6 of the Plan, but in no
event will Class 6 receive any portion of the Carve-Out.

              (c)         Voting: Class 6 is Impaired and is entitled to vote to accept or
reject the Plan.

SECTION 5.                MEANS FOR IMPLEMENTATION.

         5.1.     Plan Funding.

      The Plan shall be funded by the 26 Bowery Sale Proceeds and 2 Bowery Sale
Proceeds, including the Carve-Out to the extent required by the Plan or
Confirmation Order.

      Creditor distributions not made on the 26 Bowery Closing Date and 2 Bowery
Closing Date will be made from the 26 Bowery Sale Proceeds and 2 Bowery Sale
Proceeds by the Disbursing Agent in accordance with the terms of the Plan.

         5.2.     The Sale

       The Confirmation Order shall authorize and approve the 26 Bowery Sale
Transaction and 2 Bowery Sale Transaction to their respective purchaser under
sections 365, 1123(b)(4), 1129(b)(2)(A)(iii) and 1146(a) of the Bankruptcy Code.

         5.3.     Other Transactions.

      In the discretion of the Debtors, after the Effective Date, the Post-Effective
Date Debtors may engage in any other transaction in furtherance of the Plan. Any
such transactions may be effective as of the Effective Date pursuant to the
Confirmation Order without any further action by the members of the Debtors.

         5.4.     Withholding and Reporting Requirements.

       (a) Withholding Rights. In connection with the Plan, any party issuing any
instrument or making any distribution described in the Plan shall comply with all
applicable withholding and reporting requirements imposed by any federal, state, or
local taxing authority, and all distributions pursuant to the Plan and all related
agreements shall be subject to any such withholding or reporting requirements.
Notwithstanding the foregoing, each holder of an Allowed Claim or any other
Person that receives a distribution pursuant to the Plan shall have responsibility


                                                19

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 20 of 40



for any taxes imposed by any Governmental Unit, including, without limitation,
income, withholding, and other taxes, on account of such distribution. Any party
issuing any instrument or making any distribution pursuant to the Plan has the
right, but not the obligation, to not make a distribution until such holder has made
arrangements satisfactory to such issuing or disbursing party for payment of any
such tax obligations.

        (b) Forms. Any party entitled to receive any property as an issuance or
distribution under the Plan shall, upon request, deliver to the Disbursing Agent or
such other Person designated by the Post-Effective Date Debtors (which entity shall
subsequently deliver to the Disbursing Agent any applicable IRS Form W-8 or Form
W-9 received) an appropriate Form W-9 or (if the payee is a foreign Person) Form
W-8, unless such Person is exempt under the tax Code and so notifies the
Disbursing Agent. If such request is made by the Post-Effective Date Debtors or
such other Person designated by the Post-Effective Date Debtors and the holder
fails to comply before the date that is 180 days after the request is made, the
amount of such distribution shall irrevocably revert to the Debtors and any Claim
in respect of such distribution shall be discharged and forever barred from assertion
against any Debtors and their respective property.

         5.5.     Exemption From Certain Transfer Taxes.

       To the maximum extent provided by section 1146(a) of the Bankruptcy Code,
the issuance, transfer, or exchange of any security and the making or delivery of
any instrument of transfer under this Plan as confirmed by the Court, (including an
instrument of transfer executed in furtherance of the 26 Bowery Sale Transaction
and 2 Bowery Sale Transaction contemplated by the Plan), shall not be subject to
tax under any law imposing a stamp tax, real estate transfer tax, mortgage
recording tax or similar tax due on the sale of the 26 Bowery Property and 2 Bowery
Property in connection with or in furtherance of the Plan as confirmed by the Court
and the funding requirements contained herein and shall not be subject to any
state, local or federal law imposing such tax and the appropriate state or local
government officials or agents shall forego collection of any such tax or
governmental assessment and accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or
governmental assessment.

         5.6.     Effectuating Documents; Further Transactions.

       On and after the Effective Date, the Post-Effective Date Debtors are
authorized to and may issue, execute, deliver, file or record such contracts,
securities, instruments, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement and further
evidence the terms and conditions of the Plan in the name of and on behalf of the


                                                20

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 21 of 40



Debtors, without the need for any approvals, authorization, or consents except for
those expressly required pursuant to the Plan.

         5.7.     Preservation of Rights of Action.

       Other than Causes of Action against an Entity that are waived, relinquished,
exculpated, released, compromised, or settled in the Plan or by a Bankruptcy Court
order, the Debtors reserve any and all Causes of Action. On and after the Effective
Date, the Post-Effective Date Debtors may pursue such Causes of Action in their
sole discretion. No Entity may rely on the absence of a specific reference in the Plan,
the Plan Supplement, or the Disclosure Statement to any Cause of Action against
them as any indication that the Debtors or the Post-Effective Date Debtors will not
pursue any and all available Causes of Action against them. No preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion (judicial, equitable, or otherwise), or laches, shall apply to such Causes of
Action upon, after, or as a consequence of the Confirmation or consummation of the
26 Bowery Sale Transaction and 2 Bowery Sale Transaction. Prior to the Effective
Date, the Debtors, and on and after the Effective Date, the Post-Effective Date
Debtors, shall retain and shall have, including through their authorized agents or
representatives, the exclusive right, authority, and discretion to determine and to
initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or
litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or
action, order, or approval of the Bankruptcy Court. Notwithstanding anything
contained herein to the contrary, the settlement of any Claims and Causes of Action
which are expressly to be settled by Confirmation of the Plan itself shall be resolved
only by Confirmation of the Plan itself.

         5.8.     Closing of the Chapter 11 Cases.

      After the Chapter 11 Cases of the Debtors have been fully administered, the
Debtors shall seek authority from the Bankruptcy Court to close such Chapter 11
Cases in accordance with the Bankruptcy Code and the Bankruptcy Rules.

SECTION 6. GOVERNANCE.

        On and after the Effective Date, the Debtors shall continue to be managed by
RK Consultants LLC (“RKC”). After the Effective Date, RKC shall maintain the
books and records for the Post-Effective Date Debtors but shall not be required to
file tax returns for the Debtors. The Debtors’ principals shall bear the sole
responsibility for the filing of the Debtors’ tax returns for as long as applicable law
requires such returns to be filed. RKC shall turnover to the Debtors’ principals
copies of all of the post-Effective Date books and records for the completion of such
tax returns to the extent applicable law requires such returns to be filed. Except


                                                21

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 22 of 40



with the responsibility to provide copies of all post-Effective Date books and records
to the Debtors’ principals, RKC’s duties shall terminate upon the entry of a Final
Decree in these Chapter 11 Cases.

SECTION 7.                DISTRIBUTIONS.

         7.1.     Distribution Record Date.

       As of the close of business on the Distribution Record Date, the transfer
register for each of the Classes of Claims or Interests as maintained by the Debtors
shall be deemed closed, and there shall be no further changes in the record of
holders of any of the Claims or Interests. The Debtors shall have no obligation to
recognize any transfer of the Claims or Interests occurring on or after the
Distribution Record Date.

         7.2.     Date of Distributions

       Except as otherwise provided herein, and other than the distributions to be
made on the 26 Bowery Closing Date and 2 Bowery Closing Date, as applicable, the
Post-Effective Date Debtors or the Disbursing Agent shall make all distributions to
Holders of Allowed Claims as set forth in the Plan. In the event that any payment
or act under the Plan is required to be made or performed on a date that is not a
Business Day, then the making of such payment or the performance of such act may
be completed on or as soon as reasonably practicable after the next succeeding
Business Day but shall be deemed to have been completed as of the required date.

       The Debtors shall reserve an amount sufficient to pay holders of Disputed
Claims the amount such holders would be entitled to receive under the Plan if such
Claims were to become Allowed Claims. In the event the holders of Allowed Claims
have not received payment in full on account of their Claims after the resolution of
all Disputed Claims, then the Post-Effective Date Debtors shall make a final pro
rata distribution to all holders of Allowed Claims.

      Notwithstanding anything to the contrary in the Plan, no holder of an
Allowed Claim shall, on account of such Allowed Claim, receive a distribution in
excess of the Allowed amount of such Claim plus any interest accruing on such
Claim that is actually payable in accordance with the Plan.

         7.3.     Delivery of Distributions.

       In the event that any distribution to any holder is returned as undeliverable,
no distribution to such holder shall be made unless and until the Debtors have
determined the then current address of such holder, at which time such distribution
shall be made to such holder without Interest; provided, however, such distributions


                                                22

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 23 of 40



shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at
the expiration of six months from the date the Initial Distribution is made. After
such date, all unclaimed property or interests in property shall revert
(notwithstanding any applicable federal or state escheat, abandoned, or unclaimed
property laws to the contrary) to the Debtors to be used for the payment of any
unpaid Fee Claims, with any funds remaining at the end of the case to be
distributed to the Debtors.

         7.4.     Manner of Payment Under Plan.

     At the option of the Debtors, any Cash payment to be made hereunder may
be made by a check or wire transfer.

         7.5.     Minimum Cash Distributions.

        The Debtors shall not be required to make any payment to any holder of an
Allowed Claim on any Distribution Date of Cash less than $100.00; provided,
however, that if any distribution is not made pursuant to this Section 7.5, such
distribution shall be added to any subsequent distribution to be made on behalf of
the holder’s Allowed Claim. The Debtors shall not be required to make any final
distributions of Cash less than $50.00 to any holder of an Allowed Claim. If either
(a) all Allowed Claims (other than those whose distributions are deemed
undeliverable hereunder) have been paid in full or (b) the amount of any final
distributions to holders of Allowed Claims would be $50.00 or less and the
aggregate amount of Cash available for distributions to holders of Allowed General
Unsecured Claims is less than $2,500.00, then no further distribution shall be made
by the Post-Effective Date Debtors and any surplus Cash shall be utilized to pay
down any unpaid legal fees incurred by Debtors’ counsel post-confirmation.

         7.6.     Setoffs.

      The Debtors may, but shall not be required to, set off against any Claim, any
Claims of any nature whatsoever that the Debtors may have against the holder of
such Claim; provided that neither the failure to do so nor the allowance of any
Claim hereunder shall constitute a waiver or release by the Debtors of any such
Claim the Debtors may have against the holder of such Claim.

         7.7.     Distributions After Effective Date.

      Distributions made after the Effective Date to holders of Disputed Claims
that are not Allowed Claims as of the Effective Date, but which later become
Allowed Claims shall be deemed to have been made on the Effective Date.




                                                23

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 24 of 40



         7.8.     Allocation of Distributions Between Principal and Interest.

        Except as otherwise provided in this Plan, to the extent that any Allowed
Claim entitled to a distribution under the Plan is comprised of indebtedness and
accrued but unpaid interest thereon, such distribution shall be allocated to the
principal amount (as determined for U.S. federal income tax purposes) of the Claim
first, and then to accrued but unpaid interest.

         7.9.     Payment of Disputed Claims.

        As Disputed Claims are resolved pursuant to Section 8 hereof, the Post-
Effective Date Debtors shall make distributions on account of such Disputed Claims
as if such Disputed Claims were Allowed Claims as of the Effective Date. Such
distributions shall be made on the first Distribution Date that is at least forty-five
(45) days after the date on which a Disputed Claim becomes an Allowed Claim, or
on an earlier date selected by the Debtors in the Debtors’ sole discretion.

SECTION 8. PROCEDURES FOR DISPUTED CLAIMS.

         8.1.     Allowance of Claims.

       After the Effective Date, the Debtors shall have and shall retain any and all
rights and defenses that the Debtors had with respect to any Claim, except with
respect to any Claim deemed Allowed under this Plan. Except as expressly provided
in this Plan or in any order entered in the Chapter 11 Cases prior to the Effective
Date (including, without limitation, the Confirmation Order), no Claim shall
become an Allowed Claim unless and until such Claim is deemed under this Plan or
the Bankruptcy Code or the Bankruptcy Court has entered a Final Order, including,
without limitation, the Confirmation Order, in the Chapter 11 Cases allowing such
Claim.

         8.2.     Objections to Claims.

       As of the Effective Date, objections to and requests for estimation of, Claims
against the Debtors may be interposed and prosecuted only by the Debtors. Such
objections and requests for estimation shall be served and filed (a) on or before the
60th day following the later of (i) the Effective Date and (ii) the date that a proof of
Claim is filed or amended or a Claim is otherwise asserted or amended in writing by
or on behalf of a holder of such Claim, or (b) such later date as ordered by the
Bankruptcy Court upon motion filed by the Debtors.




                                                24

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 25 of 40



         8.3.     Estimation of Claims.

       The Debtors may at any time request that the Bankruptcy Court estimate
any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the
Bankruptcy Code regardless of whether the Debtors or Post-Effective Date Debtors
previously objected to such Claim or whether the Bankruptcy Court has ruled on
any such objection, and the Bankruptcy Court will retain jurisdiction to estimate
any Claim at any time during litigation concerning any objection to any Claim,
including, without limitation, during the pendency of any appeal relating to any
such objection. In the event that the Bankruptcy Court estimates any contingent,
unliquidated, or Disputed Claim, the amount so estimated shall constitute either
the Allowed amount of such Claim or a maximum limitation on such Claim, as
determined by the Bankruptcy Court. If the estimated amount constitutes a
maximum limitation on the amount of such Claim, the Debtors or Post-Effective
Date Debtors, as applicable, may pursue supplementary proceedings to object to the
allowance of such Claim. All of the aforementioned objection, estimation and
resolution procedures are intended to be cumulative and not exclusive of one
another. Claims may be estimated and subsequently compromised, settled,
withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

         8.4.     No Distributions Pending Allowance.

       If an objection to a Claim is filed as set forth in Section 8, no payment or
distribution provided under the Plan shall be made on account of such Claim unless
and until such Disputed Claim becomes an Allowed Claim.

         8.5.     Resolution of Claims.

       Except as otherwise provided herein, or in any contract, instrument, release,
indenture, or other agreement or document entered into in connection with this
Plan, in accordance with section 1123(b) of the Bankruptcy Code, the Debtors shall
retain and may enforce, sue on, settle, or compromise (or decline to do any of the
foregoing) all Claims, Disputed Claims, rights, Causes of Action, suits and
proceedings, whether in law or in equity, whether known or unknown, that the
Debtors or their estates may hold against any Person, without the approval of the
Bankruptcy Court, the Confirmation Order, and any contract, instrument, release,
indenture, or other agreement entered into in connection herewith. The Debtors or
their successor may pursue such retained Claims, rights, Causes of Action, suits or
proceedings, as appropriate, in accordance with the best interests of the Debtors.

         8.6.     Disallowed Claims.

      All Claims held by persons or entities against whom or which any of the
Debtors or the Post-Effective Date Debtors have commenced a proceeding asserting


                                                25

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 26 of 40



a Cause of Action under sections 542, 543, 544, 545, 547, 548, 549 and/or 550 of the
Bankruptcy Code shall be deemed “disallowed” Claims pursuant to section 502(d) of
the Bankruptcy Code and holders of such Claims shall not be entitled to vote to
accept or reject the Plan. Claims that are deemed disallowed pursuant to this
section shall continue to be disallowed for all purposes until the Avoidance Action
against such party has been settled or resolved by Final Order and any sums due to
the Debtors or the Post-Effective Date Debtors from such party have been paid.

SECTION 9. EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

         9.1.     Rejection of Executory Contracts and Unexpired Leases.

      As of the 26 Bowery Closing Date and 2 Bowery Closing Date, as applicable,
except as otherwise provided in the Plan or the 26 Bowery Purchase Agreement and
2 Bowery Purchase Agreement, as applicable, each Executory Contract and
Unexpired Lease not previously rejected, assumed, or assumed and assigned shall
be deemed automatically rejected pursuant to sections 365 and 1123 of the
Bankruptcy Code.
      .
      9.2. Claims Based on Rejection of Executory Contracts and Unexpired
                  Leases

       Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of
Claim based on the rejection of the Debtors’ Executory Contracts or Unexpired
Leases pursuant to the Plan or otherwise, must be filed with Bankruptcy Court and
served on the Debtors no later than thirty (30) days after the earlier of the Effective
Date or the effective date of rejection of such Executory Contract or Unexpired
Lease. In addition, any objection to the rejection of an Executory Contract or
Unexpired Lease must be filed with the Bankruptcy Court and served on the
Debtors, no later than thirty (30) days after service of the Debtors’ proposed
rejection of such Executory Contract or Unexpired Lease.

       Any holders of Claims arising from the rejection of an Executory Contract or
Unexpired Lease for which Proofs of Claims were not timely filed as set forth in the
paragraph above shall not (1) be treated as a creditor with respect to such Claim,
(2) be permitted to vote to accept or reject the Plan on account of any Claim arising
from such rejection, or (3) participate in any distribution in these Chapter 11 Cases
on account of such Claim, and any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not filed with the Bankruptcy Court within such time
will be automatically disallowed, forever barred from assertion, and shall not be
enforceable against the Debtors, the Debtors’ Estates, or the property for any of the
foregoing without the need for any objection by the Debtors or further notice to, or
action, order, or approval of the Bankruptcy Court or any other Entity, and any
Claim arising out of the rejection of the Executory Contract or Unexpired Lease


                                                26

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 27 of 40



shall be deemed fully compromised, settled, and released, notwithstanding anything
in the Schedules or a Proof of Claim to the contrary.

     All Allowed Claims arising from the rejection of the Debtors’ prepetition
Executory Contracts or prepetition Unexpired Leases shall be classified as General
Unsecured Claims, except as otherwise provided by order of the Bankruptcy Court.

         9.3.     Assumption and Assignment of Executory Contracts and Unexpired
                  Leases.

      On the Effective Date, any Executory Contracts and Unexpired Leases to
which either 26 Bowery or 2 Bowery is a party as set forth in either the 26 Bowery
Purchase Agreement or 2 Bowery Purchase Agreement, shall be deemed assumed
and assigned to the Reorganized Debtor in accordance with Section 365 of the
Bankruptcy Code.
      .
      9.4. Cure of Defaults for Assumed Executory Contracts and Unexpired
             Leases.

      Any Cure Obligation due under each Executory Contract and Unexpired
Lease to be assumed pursuant to the Plan shall be satisfied, pursuant to section
365(b)(1) of the Bankruptcy Code, by payment in Cash on the Effective Date, by the
Post-Effective Date, as an Administrative Claim, or on such other terms as the
parties to such Executory Contracts or Unexpired Leases may otherwise agree.

        At least fourteen (14) days before the Confirmation Hearing, the Debtor shall
cause notice of proposed Cure Obligations to be sent to applicable counterparties to
the Executory Contracts and Unexpired Leases. Any objection by such counterparty
must be filed, served, and actually received by the Debtor not later than ten (10)
days after service of notice of the Debtor’s proposed assumption and associated Cure
Obligation. Any counterparty to an Executory Contract or Unexpired Lease that
fails to object timely to the proposed cure amount will be deemed to have assented
to such Cure Obligation.

       Assumption of any Executory Contract or Unexpired Lease pursuant to the
Plan, or otherwise, shall result in the full release and satisfaction of any Claims or
defaults, subject to satisfaction of the Cure Obligations, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under
any assumed Executory Contract or Unexpired Lease at any time before the
effective date of such assumption. Any prepetition default amount set forth in the
Schedules and/or any Proofs of Claim filed with respect to an Executory Contract or
Unexpired Lease that has been assumed shall be deemed disallowed and expunged,



                                                27

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 28 of 40



without further notice to or action, order, or approval of the Bankruptcy Court or
any other Entity.



         9.5.     Reservation of Rights

      Neither the exclusion nor inclusion of any contract or lease in the Plan
Supplement, nor anything contained in the Plan, shall constitute an admission by
the Debtors that any such contract or lease is in fact an Executory Contract or
unexpired Lease or that the Debtors’ Estates have any liability thereunder. In the
event of a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Post-Effective
Date Debtors, shall have 60 days following entry of a Final Order resolving such
dispute to alter the treatment of such contract or lease as otherwise provided in the
Plan.

SECTION 10.               CONDITIONS PRECEDENT TO THE EFFECTIVE DATE.

         10.1     Conditions Precedent to the Confirmation Hearing

       The Bankruptcy Court has approved the Bid Procedures which shall provide
that the Auction take place at least three (3) days prior to the objection deadline for
the Confirmation Hearing.

         10.2     Conditions Precedent to the Effective Date.

       The occurrence of the Effective Date of the Plan is subject to the following
conditions precedent:

         (a)            the Bankruptcy Court shall have entered the Confirmation Order,
                        the Confirmation Date shall have occurred and the Confirmation
                        Order shall not be subject to any stay;

         (b)            the 26 Bowery Closing Date shall have occurred;

         (c)            the 2 Bowery Closing Date shall have occurred;

         (d)            all actions, documents and agreements necessary to implement and
                        consummate the Plan, including, without limitation, entry into the
                        documents contained in the Plan Supplement required to be
                        executed prior to the Confirmation Date, each in form and
                        substance reasonably satisfactory to the Debtors, 26 Bowery
                        Purchaser, 2 Bowery Purchaser, and the transactions and other


                                                28

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38     Main Document
                                             Pg 29 of 40



                        matters contemplated thereby, shall have been effected or
                        executed;

         (e)            all governmental and third-party approvals and consents, including
                        Bankruptcy Court approval, necessary in connection with the
                        transactions contemplated by the Plan, if any, shall be in full force
                        and effect, and all applicable waiting periods shall have expired
                        without any action being taken or threatened by any competent
                        authority that would restrain, prevent or otherwise impose
                        materially adverse conditions on such transactions;

         (f)            all documents and agreements necessary to implement the Plan
                        shall have (i) been tendered for delivery and (ii) been effected or
                        executed by all Entities party thereto, and all conditions precedent
                        to the effectiveness of such documents and agreements shall have
                        been satisfied or waived pursuant to the terms of such documents
                        or agreements; and

         (g)            all documents and agreements necessary to implement the Plan
                        shall have (i) been tendered for delivery and (ii) been effected or
                        executed by all Entities party thereto, and all conditions precedent
                        to the effectiveness of such documents and agreements shall have
                        been satisfied or waived pursuant to the terms of such documents
                        or agreements.

         10.3. Waiver of Conditions Precedent.

      Each of the conditions precedent to the Effective Date in Section 10.2 other
than the condition set forth in section 10.2(a) may be waived in writing by the
Debtors.

         10.4. Effect of Failure of Conditions to Effective Date.

       If the Confirmation Order is vacated due to a failure of a condition to the
Effective Date to occur, (i) no distributions under the Plan shall be made; (ii) the
Debtors and all holders of Claims and Interests shall be restored to the status quo
ante as of the day immediately preceding the Confirmation Date as though the
Confirmation Date ever occurred; and (iii) all monies contributed to the Plan Fund
by Debtors shall be returned to Debtors within three (3) Business Days of the
Confirmation Order being vacated.

SECTION 11.               EFFECT OF CONFIRMATION.

         11.1. Vesting of Assets.

                                                29

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 30 of 40




       On the 26 Bowery Closing Date, pursuant to sections 1141(b) and (c) of the
Bankruptcy Code, and as set forth in the 26 Bowery Purchase Agreement, all
property of the 26 Bowery Estate shall vest in the 26 Bowery Purchaser free and
clear of all Claims, liens, encumbrances, charges and other interests, except as
provided pursuant to this Plan and the Confirmation Order.

        On the 2 Bowery Closing Date, pursuant to sections 1141(b) and (c) of the
Bankruptcy Code, and as set forth in the 2 Bowery Purchase Agreement, all
property of the 2 Bowery Estate shall vest in the 2 Bowery Purchaser free and clear
of all Claims, liens, encumbrances, charges and other interests, except as provided
pursuant to this Plan and the Confirmation Order.

         11.2. Release of Liens.

       Except as otherwise provided in the Plan or in any contract, instrument,
release, or other agreement or document created pursuant to the Plan, at the
Closing, all mortgages, deeds of trust, Liens, pledges, or other security interests
against the 26 Bowery Property shall be fully released, settled, and compromised,
provided however, that the Lien securing the DIP Claim and Double Bowery Claim
shall not be deemed released until the DIP Claim and Double Bowery Claim has
been paid from the 26 Bowery Sale Proceeds and/or 2 Bowery Sale Proceeds in
accordance with the terms of this Plan; provided, however, the liens securing the
DIP Claim and Double Bowery Claim may survive and may be assigned to a lender
to the 26 Bowery Purchaser. The transfer of the 26 Bowery Property at the 26
Bowery Closing will not release any of the Guarantors’ obligations under the
Guaranty.

       Except as otherwise provided in the Plan or in any contract, instrument,
release, or other agreement or document created pursuant to the Plan, at the
Closing, all mortgages, deeds of trust, Liens, pledges, or other security interests
against the 2 Bowery Property shall be fully released, settled, and compromised,
provided however, that the Lien securing the DIP Claim and Double Bowery Claim
shall not be deemed released until the DIP Claim and Double Bowery Claim has
been paid from the 26 Bowery Sale Proceeds and/or 2 Bowery Sale Proceeds in
accordance with the terms of this Plan; provided, however, the liens securing the
DIP Claim and Double Bowery Claim may survive and may be assigned to a lender
to the 2 Bowery Purchaser. The transfer of the 2 Bowery Property at the 2 Bowery
Closing will not release any of the Guarantors’ obligations under the Guaranty.

         11.3. Subordinated Claims.

      The allowance, classification, and treatment of all Allowed Claims and
Interests and the respective distributions and treatments under the Plan take into
account and conform to the relative priority and rights of the Claims and Interests

                                                30

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 31 of 40



in each Class in connection with any contractual, legal, and equitable subordination
rights relating thereto, whether arising under general principles of equitable
subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to
section 510 of the Bankruptcy Code, the Debtors reserve the right for the Post-
Effective Date Debtors to re-classify any Allowed Claim or Interest in accordance
with any contractual, legal, or equitable subordination relating thereto.

         11.4. Binding Effect.

      Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code
and subject to the occurrence of the Effective Date, on and after the Effective Date,
the provisions of the Plan shall bind any holder of a Claim against, or Interest in,
the Debtors, and such holder’s respective successors and assigns, whether or not the
Claim or Interest of such holder is Impaired under the Plan and whether or not
such holder has accepted the Plan.

         11.5. Term of Injunctions or Stays.

       Unless otherwise provided, all injunctions or stays arising under or entered
during the Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or
otherwise, and in existence on the Confirmation Date, shall remain in full force and
effect until the later of the Effective Date and the date indicated in the order
providing for such injunction or stay.

         11.6. Plan Injunction.

       Except (i) as otherwise provided under Final Order entered by the
Bankruptcy Court or (ii) with respect to the Debtors’ obligations under the Plan, the
entry of the Confirmation Order shall forever stay, restrain and permanently enjoin
with respect to any Claim held against the Debtors as of the date of entry of the
Confirmation Order (i) the commencement or continuation of any action, the
employment of process, or any act to collect, enforce, attach, recover or offset from
the Debtors, from the 26 Bowery Property or 2 Bowery Property, or from property of
the Estates that has been or is to be distributed under the Plan, and (ii) the
creation, perfection or enforcement of any lien or encumbrance against the 26
Bowery Property or 2 Bowery Property and any property of the Estates that has
been or is to be, distributed under the Plan. Except as otherwise provided in the
Confirmation Order, the entry of the Confirmation Order shall constitute an
injunction against the commencement or continuation of any action, the
employment of process, or any act to collect, recover or offset from the Debtors, from
the 26 Bowery Property or 2 Bowery Property, or from property of the Estates, any
claim, any obligation or debt that was held against the Debtors by any person or
entity as of the Confirmation Date except pursuant to the terms of this Plan. The



                                                31

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 32 of 40



entry of the Confirmation Order shall permanently enjoin all Creditors, their
successors and assigns, from enforcing or seeking to enforce any such Claims.

         11.7. Limitation of Liability

       To the extent permitted under Section 1125(e) of the Bankruptcy Code,
neither the Exculpated Parties nor any of their respective officers, directors, or
employees (acting in such capacity) nor any professional person employed by any of
them, shall have or incur any liability to any entity for any action taken or omitted
to be taken in connection with or related to the formulation, preparation,
dissemination, Confirmation or consummation of the Plan, the Disclosure
Statement, the Plan Supplement or the any contract, instrument, release or other
agreement or document created or entered into, or any other action taken or
omitted to be taken in connection with the Plan, provided that each Exculpated
Party shall be entitled to rely upon the advice of counsel concerning his, her, or its
duties pursuant to, or in connection with, the Plan or any other related document,
instrument, or agreement, except in the case of fraud, gross negligence, willful
misconduct, malpractice, breach of fiduciary duty, criminal conduct, unauthorized
use of confidential information that causes damages, or ultra vires acts. Nothing
in this Section 11.8 shall limit the liability of the Debtors’ professionals pursuant to
Rule 1.8 (h)(1) of the New York State Rules of Professional Conduct. Nothing in the
Plan or the confirmation order shall effect a release of any claim by the United
States Government or any of its agencies or any state and local authority
whatsoever, including, without limitation, any claim arising under the Internal
Revenue Code, the environmental laws or any criminal laws of the United States or
any state and local authority against the Debtors or any of its respective members,
shareholders, officers, directors, employees, attorneys, advisors, agents,
representatives and assigns, nor shall anything in the Plan enjoin the United States
or any state or local authority from bringing any claim, suit, action or other
proceedings against the Debtors or any of its respective members, officers, directors,
employees, attorneys, advisors, agents, representatives and assigns for any liability
whatever, including without limitation, any claim, suit or action arising under the
Internal Revenue Code, the environmental laws or any criminal laws of the United
States or any state or local authority, nor shall anything in this Plan exculpate
Debtors or any of its respective members, officers, directors, employees, attorneys,
advisors, agents, representatives and assigns from any liability to the United States
Government or any of its agencies or any state and local authority whatsoever,
including liabilities arising under the Internal Revenue Code, the environmental
laws or any criminal laws of the United States or any state and local authority.

         11.8     Release

      Except as otherwise provided in the Plan, upon the Effective Date, in
consideration of the Cash and other property to be distributed to or on behalf of the


                                                32

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 33 of 40



holders of Claims and Interests under the Plan, the Plan shall be deemed to resolve
all disputes and constitute a settlement and release, between and among the
Debtors and Double Bowery on the one hand, and each Creditor and Interest
Holder, on the other, from any claim or liability, whether legal, equitable,
contractual, secured, unsecured, liquidated, unliquidated, disputed, undisputed,
matured, unmatured, fixed or contingent, known or unknown, that the Debtors,
their Creditors or Interest Holders ever had or now have through the Effective Date
in connection with their Claim or Interest (including, without limitation, any claims
the Debtors may assert on their own behalf or on behalf of Creditors or Interest
Holders pursuant to sections 510 and 542 through 553 of the Bankruptcy Code, any
claims Creditors or Interest Holders may have asserted derivatively on behalf of the
Debtors absent bankruptcy, any claims based on the conduct of the Debtors’
business affairs prior or subsequent to the commencement of the Cases or any
claims based on the negotiation, submission and confirmation of the Plan).

         11.9. Solicitation of the Plan.

       As of and subject to the occurrence of the Confirmation Date: (a) the Debtors
shall be deemed to have solicited acceptances of the Plan in good faith and in
compliance with the applicable provisions of the Bankruptcy Code, including
without limitation, sections 1125(a) and (e) of the Bankruptcy Code, and any
applicable non-bankruptcy law, rule or regulation governing the adequacy of
disclosure in connection with such solicitation.

         11.10. Plan Supplement.

      The Plan Supplement, if any, shall be filed with the Clerk of the Bankruptcy
Court by no later than three (3) Business Days prior to the deadline to vote on
confirmation of the Plan. Upon its filing with the Bankruptcy Court, the Plan
Supplement may be inspected in the office of the Clerk of the Bankruptcy Court
during normal court hours.

SECTION 12.               RETENTION OF JURISDICTION.

       On and after the Effective Date, the Bankruptcy Court shall retain
jurisdiction over all matters arising in, arising under, and related to the Chapter 11
Cases for, among other things, the following purposes:

         (a)      to hear and determine motions and/or applications for the assumption
                  or rejection of Executory Contracts or unexpired Leases and the
                  allowance, classification, priority, compromise, estimation or payment
                  of Claims resulting there from;




                                                33

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38    Main Document
                                             Pg 34 of 40



         (b)      to determine any motion, adversary proceeding, application, contested
                  matter, or other litigated matter pending on or commenced after the
                  Confirmation Date;

         (c)      to ensure that distributions to holders of Allowed Claims are
                  accomplished as provided herein;

         (d)      to consider Claims or the allowance, classification, priority,
                  compromise, estimation or payment of any Claim;

         (e)      to enter, implement or enforce such orders as may be appropriate in
                  the event the Confirmation Order is for any reason stayed, reversed,
                  revoked, modified or vacated;

         (f)      to adjudicate any dispute related to the 26 Bowery Sale Transaction or
                  2 Bowery Sale Transaction;

         (g)      to issue injunctions, enter and implement other orders, and take such
                  other actions as may be necessary or appropriate to restrain
                  interference by any Person with the Consummation, implementation
                  or enforcement of the Plan, including the Confirmation Order, or any
                  other order of the Bankruptcy Court;

         (h)      to hear and determine any application to modify the Plan in
                  accordance with section 1127 of the Bankruptcy Code, to remedy any
                  defect or omission or reconcile any inconsistency in the Plan, or any
                  order of the Bankruptcy Court, including the Confirmation Order, in
                  such a manner as may be necessary to carry out the purposes and
                  effects thereof;

         (i)      to hear and determine all applications under sections 330, 331, and
                  503(b) of the Bankruptcy Code for awards of compensation for services
                  rendered and reimbursement of expenses incurred before the
                  Confirmation Date;

         (j)      to hear and determine disputes arising in connection with the
                  interpretation, implementation, or enforcement of the Plan, the 26
                  Bowery Purchase Agreement, the 2 Bowery Purchase Agreement, the
                  Confirmation Order or any agreement, instrument, or other document
                  governing or relating to any of the foregoing;

         (k)      to take any action and issue such orders as may be necessary to
                  construe, interpret, enforce, implement, execute, and consummate the
                  Plan or to maintain the integrity of the Plan following Consummation;



                                                34

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 35 of 40



         (l)      to determine such other matters and for such other purposes as may be
                  provided in the Confirmation Order;

         (m)      to hear and determine matters concerning state, local and federal
                  taxes in accordance with sections 346, 505 and 1146 of the Bankruptcy
                  Code (including any requests for expedited determinations of the
                  Debtors’ tax liability under section 505(b) of the Bankruptcy Code);

         (n)      to adjudicate, decide or resolve any and all matters related to section
                  1141 of the Bankruptcy Code;

         (o)      to adjudicate any and all disputes arising from or relating to
                  distributions under the Plan;

         (p)      to hear and determine any other matters related hereto and not
                  inconsistent with the Bankruptcy Code and title 28 of the United
                  States Code;

         (q)      to enter a final decree closing the Chapter 11 Cases;

         (r)      to enforce all orders previously entered by the Bankruptcy Court;

         (s)      to recover all assets of the Debtors and property of the Debtors’
                  Estates, wherever located; and

         (t)      to hear and determine any rights, Claims or Causes of Action held by
                  or accruing to the Debtors pursuant to the Bankruptcy Code or
                  pursuant to any federal statute or legal theory.

SECTION 13.               MISCELLANEOUS PROVISIONS.

         13.1. Payment of Statutory Fees.

       On the Effective Date and thereafter as may be required, the Debtors shall
pay all fees incurred pursuant to § 1930 of title 28 of the United States Code,
together with interest, if any, pursuant to § 3717 of title 31 of the United States
Code for the Chapter 11 Cases; provided, however, that after the Effective Date
such fees shall only be payable with respect to the Chapter 11 Cases until such time
as a final decree is entered closing the Chapter 11 Cases, a Final Order converting
such case to a case under chapter 7 of the Bankruptcy Code is entered or a Final
Order dismissing the Chapter 11 Cases is entered.

         13.2. Substantial Consummation.




                                                35

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 36 of 40



        On the 26 Bowery Closing Date or 2 Bowery Closing Date, whichever occurs
later, the Plan shall be deemed to be substantially consummated under sections
1101 and 1127(b) of the Bankruptcy Code.

         13.3. Amendments.

      (a)    Plan Modifications. The Plan may be amended, modified or
supplemented by the Debtors in the manner provided for by section 1127 of the
Bankruptcy Code or as otherwise permitted by law without additional disclosure
pursuant to section 1125 of the Bankruptcy Code. In addition, after the
Confirmation Date, the Post-Effective Date Debtors may institute proceedings in
the Bankruptcy Court to remedy any defect or omission or reconcile any
inconsistencies in the Plan or the Confirmation Order, with respect to such matters
as may be necessary to carry out the purposes and effects of the Plan.

      (b)    Other Amendments. Before the Effective Date, the Debtors may make
appropriate technical adjustments and modifications to the Plan and the documents
contained in the Plan Supplement without further order or approval of the
Bankruptcy Court.

         13.4. Revocation or Withdrawal of the Plan.

       The Debtors reserve the right to revoke or withdraw the Plan, prior to the
Confirmation Date. If the Debtors revoke or withdraw the Plan, or if Confirmation
or Consummation does not occur, then: (1) the Plan shall be null and void in all
respects; (2) any settlement or compromise embodied in the Plan (including the
fixing or limiting to an amount certain of any Claim or Interest or Class of Claims
or Interests), assumption or rejection of Executory Contracts or unexpired Leases
effected by the Plan, and any document or executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a
waiver or release of any Claims or Interests; (b) prejudice in any manner the rights
of the Debtors, the Debtors’ Estates, or any other Entity; or (c) constitute an
admission, acknowledgement, offer, or undertaking of any sort by the Debtors, the
Debtors’ Estates, or any other Entity.

         13.5. Severability of Plan Provisions Upon Confirmation.

       If, before the entry of the Confirmation Order, any term or provision of the
Plan is held by the Bankruptcy Court to be invalid, void, or unenforceable, the
Bankruptcy Court, at the request of the Debtors, shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum
extent practicable, consistent with the original purpose of the term or provision held
to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration


                                                36

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 37 of 40



or interpretation, the remainder of the terms and provisions of the Plan will remain
in full force and effect and will in no way be affected, impaired or invalidated by
such holding, alteration or interpretation. The Confirmation Order shall constitute
a judicial determination and shall provide that each term and provision of the Plan,
as it may have been altered or interpreted in accordance with the foregoing, is (1)
valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be
deleted or modified without the consent of the Debtors or the Post-Effective Date
Debtors (as the case may be); and (3) non-severable and mutually dependent.

         13.6. Governing Law.

       Except to the extent that the Bankruptcy Code or other federal law is
applicable, or to the extent an exhibit hereto or a schedule in the Plan Supplement
provides otherwise, the rights, duties and obligations arising under the Plan shall
be governed by, and construed and enforced in accordance with, the laws of the
State of New York, without giving effect to the principles of conflict of laws thereof.

         13.7. Time.

      In computing any period of time prescribed or allowed by the Plan, unless
otherwise set forth herein or determined by the Bankruptcy Court, the provisions of
Bankruptcy Rule 9006 shall apply.

         13.8. Additional Documents

       On or before the Effective Date, the Debtors may file with the Bankruptcy
Court such agreements and other documents as may be necessary or appropriate to
effectuate and further evidence the terms and conditions of the Plan. The Debtors
and all holders of Claims or Interests receiving distributions pursuant to the Plan
and all other parties in interest shall, prepare, execute, and deliver any agreements
or documents and take any other actions as may be necessary or advisable to
effectuate the provisions and intent of the Plan.

         13.9. Immediate Binding Effect.

      Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan and Plan
Supplement shall be immediately effective and enforceable and deemed binding
upon and inure to the benefit of the Debtors, the 26 Bowery Purchaser, the 2
Bowery Purchaser, the holders of Claims and Interests, the Released Parties, the
Exculpated Parties, and each of their respective successors and assigns.




                                                37

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 38 of 40



         13.10. Successor and Assigns.

      The rights, benefits and obligations of any Person named or referred to in the
Plan shall be binding on, and shall inure to the benefit of any heir, executor,
administrator, successor or permitted assign, if any, of each Entity.

         13.11. Entire Agreement.

      On the Effective Date, the Plan, the Plan Supplement, the 26 Bowery
Purchase Agreement and the 2 Bowery Purchase Agreement, as applicable, and the
Confirmation Order shall supersede all previous and contemporaneous negotiations,
promises, covenants, agreements, understandings and representations on such
subjects, all of which have become merged and integrated into the Plan.

         13.12. Notices.

       All notices, requests and demands to or upon the Debtors to be effective shall
be in writing (including by facsimile transmission) and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually
delivered or, in the case of notice by facsimile transmission, when received and
telephonically confirmed, addressed as follows:

         (i) if to the Debtors
         RK Consultants
         1178 Broadway
         3rd Floor, #1505
         New York, New York 10001
         Attn: Brian Ryniker

         - and –

         Leech Tishman Robinson Brog, PLLC
         875 Third Avenue, 9th Floor
         New York, New York 10022
         Telephone: (212) 603-6300
         Facsimile: (212) 956-2164
         Attn: Fred B. Ringel., Esq.

         (ii) if to Double Bowery
         Morrison Cohen LLP
         909 Third Avenue, 27th Floor
         New York, New York 10022
         Attn: Joseph T. Moldovan, Esq.
                  David J. Kozlowski, Esq.

                                                38

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38   Main Document
                                             Pg 39 of 40




After the Effective Date, the Debtors shall have the authority to send a notice to
Entities that to continue to receive documents pursuant to Bankruptcy Rule 2002,
that they must file a renewed request to receive documents pursuant to Bankruptcy
Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of
Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities
who have filed such renewed requests.

                                  [signatures on following page]




                                                39

4853-3503-8512, v. 9
22-10412-mg            Doc 467   Filed 09/10/24 Entered 09/10/24 13:17:38     Main Document
                                             Pg 40 of 40




Dated: September 10, 2024
       New York, New York

26 BOWERY LLC                                     LEECH TISHMAN
BY: RK CONSULTANTS, LLC,                          ROBINSON BROG, PLLC
INDEPENDENT MANAGER                               Attorneys for the Debtors
                                                  One Dag Hammarskjöld Plaza
By:/s/ Brian Ryniker                              885 Second Avenue, 3rd Floor
Brian Ryniker                                     New York, New York 10017
Member                                            Tel. No. (212) 603-6300

                                                  By: /s/ Fred B. Ringel
                                                        Fred B. Ringel, Esq.
2 BOWERY HOLDING LLC                              MORRISON COHEN LLP
BY: RK CONSULTANTS, LLC,                          Attorneys for Double Bowery
INDEPENDENT MANAGER                               Funding LLC
                                                  909 Third Avenue, 27th Floor
By:/s/ Brian Ryniker                              New York, New York 10022
Brian Ryniker                                     Tel. No. (212) 753-8600
Member
                                                  By:/s/ David J. Kozlowski
                                                  Joseph T. Moldovan, Esq.
                                                  David J. Kozlowski, Esq.
DOUBLE BOWERY FUNDING LLC


By:/s/ Mark Levin
Mark Levin
Authorized Signatory




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4853-3503-8512, v. 9
